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APPEALS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; EIGHTH DISTRICT OF
TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; EL
PASO, TEXAS

&nbsp;


 
  
  &nbsp;
  &nbsp;
  LUCCHESE BOOT CO.,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
  Appellant,
  &nbsp;
  v.
  &nbsp;
  ARTURO LICON,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
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  &nbsp;
  '
  
  
  &nbsp;
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-11-00103-CV
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appeal from
  &nbsp;
  34th District Court
  &nbsp;
  of El Paso County,
  Texas
  &nbsp;
  (TC # 2005-7388)
  
 
 
  
  &nbsp;
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lucchese Boot Co. appeals from an
order granting Arturo Licon’s motion to strike its amended motion to compel
arbitration.&nbsp; For the reasons that
follow, we reverse and remand.

FACTUAL SUMMARY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On October 19, 2005, Arturo Licon
filed a non-subscriber negligence suit against Lucchese alleging he suffered an
on-the-job injury in 2005.&nbsp; Lucchese answered
filed a motion to compel arbitration based on an arbitration agreement
contained in its Arena Brands Texas Injury Benefit Plan (the Plan).&nbsp; The motion to compel arbitration alleged that
Licon signed an acknowledgement on April 1, 2003 reflecting that he had
received and read, or had the opportunity to read, the highlights brochure
which included a requirement that he arbitrate disputes relating to on-the-job
injuries.&nbsp; Licon opposed arbitration on
the ground that the arbitration agreement was illusory because Lucchese had the
unilateral right to amend or terminate the Plan without notice.&nbsp; The trial court granted the motion to compel
arbitration.&nbsp; On July 30, 2010, Licon
filed a motion to reconsider the order compelling arbitration based on this court’s
decision in two cases:&nbsp; In Lucchese Boot Co., 324 S.W.3d 211, 214
(Tex.App.--El Paso 2010, orig. proceeding);&nbsp;
In Lucchese, Inc., 324 S.W.3d
214, 217 (Tex.App.--El Paso 2010, orig. proceeding).&nbsp; We held in those cases that Lucchese’s
arbitration agreement was illusory.&nbsp; On
November 18, 2010, the trial court granted Licon’s motion to reconsider,
vacated its prior order compelling arbitration, and denied Lucchese’s motion to
compel arbitration.&nbsp; On February 11,
2011, Lucchese filed an amended motion to compel arbitration based on a different
arbitration agreement signed by Licon on July 10, 2003.&nbsp; According to the motion and attached
evidence, Lucchese also has a Problem Resolution Plan (the Program) which
contains an agreement to arbitrate.&nbsp; The
Program requires arbitration of all disputes between Lucchese and Licon whereas
the other arbitration agreement Licon waived the right to trial by judge or
jury and agreed that all claims covered by the Program would be arbitrated
unless both parties waived the right to arbitrate in writing prior to the
initiation of any litigation.&nbsp; The
Program defined “covered disputes” as including tort claims for physical,
mental, or psychological injury, without regard to whether the injury was
allegedly sustained in the course and scope of employment.&nbsp; The Program also provided that it was
governed by the Federal Arbitration Act.&nbsp;
 In his response to the amended
motion to compel arbitration, Licon argued that the trial court should strike
the amended motion and enter an order finding that Lucchese had waived its
right to compel arbitration because it had failed to exercise due diligence in
presenting the issue and evidence to the trial court.&nbsp; He also asserted that Lucchese should not be
allowed to “reopen” because it had not used due diligence in obtaining the evidence.&nbsp; Additionally, Licon relied on the doctrine of
equitable estoppel and argued that Lucchese should be estopped from filing an
amended motion to compel arbitration.&nbsp; After
a brief hearing, the trial court granted Licon’s motion to strike.&nbsp; Lucchese filed notice of accelerated appeal
from the interlocutory order.&nbsp; In its
brief, Lucchese has included an alternative petition for writ of mandamus in
the event we determine that we lack jurisdiction of the interlocutory appeal.&nbsp; We will address the jurisdictional issue
first.

JURISDICTION OF THE INTERLOCUTORY APPEAL

Appellate
courts generally have jurisdiction over final judgments, and such interlocutory
orders as the Legislature deems appealable by statute. &nbsp;Hernandez
v. Department of Family and Protective Services, --- S.W.3d ----, 2012 WL
1647984 at *1 (Tex.App.-- El Paso 2012, no pet. h.); see Tex.Civ.Prac.&amp;Rem.Code
Ann. § 51.012 and § 51.014 (West Supp. 2011). &nbsp;We strictly apply statutes authorizing
interlocutory appeals because they are a narrow exception to the general rule
that interlocutory orders are not immediately appealable. &nbsp;CMH
Homes v. Perez, 340 S.W.3d 444, 447-48 (Tex. 2011).&nbsp; 

Relying
on Section 51.016 of the Civil Practice and Remedies Code and Section 16 of the
FAA, Lucchese asserts that we have jurisdiction of this appeal because the
trial court’s order striking the amended motion to compel arbitration
effectively denied the motion.&nbsp; Section
51.016 provides, in relevant part, that in a matter subject to the Federal
Arbitration Act,[1]
a person may take an appeal to the court of appeals from an interlocutory order
of a district court under the same circumstances that an appeal from a federal
district court’s order or decision would be permitted by 9 U.S.C. § 16.&nbsp; Tex.Civ.Prac.&amp;Rem.Code
Ann. § 51.016.&nbsp; The Program
expressly provides that it is adopted pursuant to and is governed by the
Federal&nbsp; Arbitration Act.&nbsp; Parties may expressly agree to arbitrate under
the FAA.&nbsp; In re Rubiola, 334 S.W.3d 220, 223 (Tex. 2011). &nbsp;

The
United States Supreme Court stated in Green
Tree Financial Corporation v. Randolph that the FAA generally permits
immediate appeal of orders hostile to arbitration but bars appeal of
interlocutory orders favorable to arbitration.&nbsp;
Green Tree Financial Corp. v.
Randolph, 531 U.S. 79, 86, 121 S.Ct. 513, 148 L.Ed.2d 373 (2000); In re Gulf Exploration, LLC, 289 S.W.3d
836, 839 (Tex. 2009).&nbsp; Section 16 of the
FAA specifies the types of orders which may be appealed.&nbsp; 9 U.S.C.A. § 16(a)(1)(C)(West 2009).&nbsp; An appeal may be taken from:

(1)&nbsp; an order--

&nbsp;

(A)
refusing a stay of any action under section 3 of this title,

&nbsp;

(B) denying a petition under section 4
of this title to order arbitration to proceed,

&nbsp;

(C) denying an application under
section 206 of this title to compel arbitration,

&nbsp;

(D) confirming or
denying confirmation of an award or partial award, or

&nbsp;

(E) modifying,
correcting, or vacating an award;

&nbsp;

(2) an interlocutory
order granting, continuing, or modifying an injunction against an arbitration
that is subject to this title; or

&nbsp;

(3)
a final decision with respect to an arbitration that is subject to this title.

We strictly
apply statutes authorizing interlocutory appeals.&nbsp; See Texas
La Fiesta Auto Sales, LLC v. Belk, 349 S.W.3d 872, 878 (Tex.App.--Houston
[14th Dist.] 2011, no pet.).&nbsp; The substance
and function of the order being appealed controls our interlocutory
jurisdiction.&nbsp; Id.&nbsp; 

Licon
argues that we lack jurisdiction of this appeal because Lucchese’s amended motion
to compel arbitration is actually a motion to reconsider the trial court’s
prior ruling.&nbsp; Appellate courts have held
that while Section 51.016 and Section 16 of the FAA permit an appeal from an
order refusing to compel arbitration, it does not provide for an appeal from an
order denying a motion to reconsider.&nbsp; See Wells Fargo Bank, N.A. v. Goldberg,
No. 09-10-00386-CV, 2011 WL 662952 at *2 (Tex.App.--Beaumont Feb. 24, 2011, no
pet.)(dismissing appeal from denial of motion to reconsider an order denying
motion to compel arbitration); Nabors
Well Services Company v. Aviles, No. 06-10-00018-CV, 2010 WL 2680087
(Tex.App.--Texarkana 2010, no pet.)(dismissing appeal from denial of amended
motion to compel arbitration because the amended motion was not a new motion
but was in substance a motion to reconsider the prior ruling); Hydro Management Systems, LLC v. Jalin, Ltd.,
No. 04-09-00813-CV, 2010 WL 1817813 (Tex.App.--San Antonio 2010, no pet.)(holding
that Section 16 of the FAA permits an appeal from an order denying a motion to
compel arbitration but not from an order denying a motion to reconsider, and
therefore, order denying motion to reconsider was not independently
appealable).&nbsp; 

The
instant case is distinguishable because Lucchese based its amended motion to
compel arbitration on an arbitration agreement which had not previously been
offered as a basis for its motion to compel arbitration.&nbsp; It is not merely a different version of the
Plan’s arbitration agreement.&nbsp; It is a
separate and distinct agreement which stands on its own.&nbsp; Thus, Lucchese did not ask the trial court to
reconsider its prior ruling.&nbsp; It instead
moved the trial court to compel arbitration based on a different
agreement.&nbsp; Thus, the amended motion
included “new matter.” See Tex.R.Civ.P. 62 (defining the object of
an amendment of a pleading to include pleading new matter, in addition to that
formerly pleaded).&nbsp; 

Licon
next complains that we do not have jurisdiction of this appeal because the trial
court did not rule on Lucchese’s amended motion to compel arbitration and the FAA
does not authorize an appeal from an order striking a motion to compel
arbitration. &nbsp;This argument presents a
difficult question.&nbsp; On the one hand, the
record does not reflect that the court conducted a hearing on the merits of the
amended motion to compel arbitration nor does it show that the court expressly or
even impliedly ruled on that motion.&nbsp;
Instead, the trial court conducted a hearing on Licon’s motion to strike
and the court ruled on that motion.&nbsp; The
parties did not present any evidence or make arguments related to the merits of
Lucchese’s amended motion to compel arbitration.&nbsp; On the other hand, the effect of the trial
court’s order is to permanently foreclose arbitration.&nbsp; One of the arguments relied on by Licon is
that Lucchese waived its right to arbitrate.&nbsp;
Waiver is a ground utilized by plaintiffs to avoid arbitration.&nbsp; See
e.g., EZ Pawn Corp. v. Mancias, 934 S.W.2d 87 (Tex. 1996).&nbsp; We conclude that the trial court’s order
striking the amended motion to compel arbitration is the functional equivalent
of an order denying the motion.&nbsp; Accordingly,
we conclude that we have jurisdiction to review this interlocutory order by
virtue of Section 51.016 and Section 16(a)(1)(C) of the FAA.

Even
if we are incorrect in our resolution of the jurisdiction issue, we would not
dismiss the appeal but would review the issues raised by Lucchese under the
mandamus standard of review because Lucchese requested that we treat its brief
as a mandamus petition in the event we find that we do not have jurisdiction to
review the interlocutory order.&nbsp; See CMH Homes v. Perez, 340 S.W.3d 444,
452 (Tex. 2011)(impermissible interlocutory appeal from order appointing an
arbitrator would be considered as a petition for writ of mandamus, where seller
invoked the court of appeals’ appellate jurisdiction by specifically requesting
that its appeal be treated as a mandamus petition).&nbsp; We would review the issues for a clear abuse
of discretion. &nbsp;See In re Prudential Insurance Company of America, 148 S.W.3d 124,
135 (Tex. 2004).

AUTHORITY TO STRIKE LUCCHESE’S

AMENDED MOTION TO COMPEL ARBITRATION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lucchese argues in its sole issue
that the trial court abused its discretion by striking its amended motion to
compel arbitration and by refusing to compel arbitration.&nbsp; Given that the trial court did not consider
the merits of Lucchese’s motion to compel arbitration, we will not address the
latter argument but will instead restrict our review to the trial court’s
decision to strike Lucchese’s motion to compel arbitration.&nbsp; 

Standard of Review

Under
the abuse of discretion standard, an appellate court may reverse the trial
court’s ruling only if the trial court acted without reference to any guiding
rules and principles, such that its ruling was arbitrary or unreasonable.&nbsp; Low v.
Henry, 221 S.W.3d 609, 614 (Tex. 2007).&nbsp;
When undertaking this review, we may not substitute our judgment for
that of the trial court with respect to resolution of factual issues or matters
committed to the trial court’s discretion. &nbsp;See Walker
v. Packer, 827 S.W.2d 833, 839 (Tex. 1992)(orig. proceeding); see also Downer v. Aquamarine Operators, Inc.,
701 S.W.2d 238, 242 (Tex. 1985). &nbsp;While a
trial court does not abuse its discretion merely because it decides a
discretionary matter differently from an appellate court, a trial court has no
discretion in determining the law or its application. &nbsp;Walker,
827 S.W.2d at 840.&nbsp; A clear failure by
the trial court to analyze or apply the law correctly will constitute an abuse
of discretion. &nbsp;Walker, 827 S.W.2d at 840.

Authority to Strike Pleadings

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Lucchese contends that the trial
court did not have authority to strike its amended motion to compel
arbitration.&nbsp; Under the Rules of Civil
Procedure, courts are authorized to strike a party’s pleadings in a limited
variety of situations.&nbsp; For example, a
court is required to strike a party’s pleadings under Tex.R.Civ.P. 12 if an attorney fails to show sufficient
authority to prosecute or defend a suit on behalf of a party and no person who
is authorized to prosecute or defend appears.&nbsp;
A court may strike a groundless and false pleading.&nbsp; Tex.R.Civ.P.
&nbsp;13.&nbsp; A court is also authorized to strike a third
party claim.&nbsp; Tex.R.Civ.P. 38(a).&nbsp; A
plea in intervention is subject to being stricken by the court for sufficient
cause on the motion of any party.&nbsp; Tex.R.Civ.P. 60.&nbsp; As another example, a court may strike a
pleading filed after a deadline imposed by a pre-trial order.&nbsp; See
Tex.R.Civ.P. 166(p).&nbsp; The Rules of Civil Procedure also authorize
trial courts to sanction a party for failure to comply with a discovery request
by striking pleadings or by entering an order refusing to allow the disobedient
party from supporting designated claims or defenses, or prohibiting him from
introducing designated matters in evidence.&nbsp;
Tex.R.Civ.P. 215.2(b)(5). 

Licon
argued that the court should strike Lucchese’s amended motion to compel
arbitration and refuse to consider the evidence attached to the amended motion on
the grounds that:&nbsp; 

1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Lucchese waived its right to assert the new
grounds alleged in his amended motion to compel arbitration;

&nbsp;

2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Lucchese did not exercise due diligence in
presenting new arguments and evidence, and therefore, the court should not
permit Lucchese to “reopen” the arbitration issue; and

&nbsp;

&nbsp;

3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Lucchese is estopped from reopening the
arbitration issue.

&nbsp;

We will address
these arguments in order.

Waiver

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Licon argued in his motion to strike
that Lucchese waived its right to compel arbitration under the Program’s
arbitration agreement because it did not present that argument or the evidence to
the trial court in the first motion to compel arbitration.&nbsp; The Texas Supreme Court rejected a similar
argument in In re Nexion Health at Humble, Inc., 173 S.W.3d 67, 68 (Tex.
2005). &nbsp;In that case, the defendant filed
a motion to compel arbitration based only on the Texas Arbitration Act and
later filed a motion to reconsider based on new grounds under the Federal
Arbitration Act. &nbsp;The Court held that the
defendant did not waive its right and was not estopped from seeking to compel
arbitration.&nbsp; Id.&nbsp; Here, Lucchese first
moved to compel arbitration under the Injury Benefit Plan’s arbitration
agreement and later moved to compel arbitration based on a new ground, namely,
the Problem Resolution Program’s arbitration agreement. &nbsp;We conclude that Lucchese did not waive its
right to arbitrate by not raising both grounds for arbitration in the original
motion to compel arbitration.

In
the arbitration context, a party waives its right to compel arbitration by
substantially invoking the judicial process to the other party’s detriment or
prejudice.&nbsp; In re Fleetwood Homes of Texas, L.P., 257 S.W.3d 692, 694 (Tex.
2008)(orig. proceeding); In re ReadyOne
Industries, Inc., 294 S.W.3d 764, 772 (Tex.App.--El Paso 2009, orig.
proceeding).&nbsp; There is a strong
presumption against waiver of arbitration.&nbsp;
In re Bruce Terminix Co., 988
S.W.2d 702, 704 (Tex. 1998)(orig. proceeding).&nbsp;
Waiver is a legal question for the court based on the totality of the
circumstances, and asks whether a party has substantially invoked the judicial
process to an opponent’s detriment, the latter term meaning inherent unfairness
caused by “a party’s attempt to have it both ways by switching between
litigation and arbitration to its own advantage.” &nbsp;In re
ReadyOne, 294 S.W.3d at 772, quoting Perry
Homes v. Cull, 258 S.W.3d 580, 597 (Tex. 2008). &nbsp;Waiver must be decided on a case-by-case
basis, and courts should look to the totality of the circumstances involved. &nbsp;In re
ReadyOne, 294 S.W.3d at 772.&nbsp; We
consider factors such as when the movant knew of the arbitration clause, how
much discovery has been conducted, who initiated it, whether it related to the
merits rather than arbitrability or standing, how much of it would be useful in
arbitration, and whether the movant sought judgment on the merits. &nbsp;Perry
Homes, 258 S.W.3d at 591-92; In re
ReadyOne, 294 S.W.3d at 772.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There has been no showing that
Lucchese substantially invoked the judicial process or that Lucchese has
switched between litigation and arbitration to its own advantage.&nbsp; Licon filed suit on October 19, 2005 and
Lucchese raised arbitration in its amended answer filed on January 24, 2006.&nbsp; Lucchese waited thirteen months before it
filed a motion to compel arbitration.&nbsp; Licon
argued in his response to the motion to compel that Lucchese had waived its
right to arbitrate by substantially invoking the judicial process during this
time period.&nbsp; He alleged that Lucchese
had answered discovery, engaged in its own discovery, and filed a motion to
compel discovery and for sanctions.&nbsp; In
support of this argument, Licon attached a computer-generated document showing
the “events and orders” related to the case.&nbsp;
The document does not provide any details but does show that Lucchese
filed interrogatories and a motion to compel discovery and for sanctions.&nbsp; By granting Lucchese’s motion on May 23, 2007
without specifying the basis for the ruling, the trial court impliedly found
that Licon had failed to carry his burden of proving that Lucchese had
substantially invoked the judicial process.&nbsp;
On July 30, 2010, Licon filed a motion to reconsider the order
compelling arbitration based on our decisions in the two mandamus cited
above.&nbsp; On November 18, 2010, the trial
court granted Licon’s motion to reconsider, vacated its prior order compelling
arbitration, and denied Lucchese’s motion to compel arbitration.&nbsp; Lucchese filed its amended motion to compel
arbitration on February 11, 2011.&nbsp; There
is no evidence that Lucchese substantially invoked the judicial process prior
to the time the trial court granted the first motion to compel arbitration or
after the court vacated that order.&nbsp;
Further, Licon failed to prove prejudice.&nbsp; See In
re ReadyOne, 294 S.W.3d at 772-73 (holding that employer did not
substantially invoke the judicial process by completing extensive discovery
because employed had invoked right to arbitrate from the beginning of
litigation and there was no showing of prejudice). &nbsp;Licon’s waiver argument does not support the
trial court’s ruling.

Reopening the Evidence

Licon’s
motion to strike also asserted that Lucchese could not “reopen” the arbitration
issue and introduce new evidence because it had not exercised due diligence in obtaining
the new evidence.&nbsp; Licon relied on Tex.R.Civ.P. 270 and AXA Financial, Inc. v. Roberts, No.
08-07-00079-CV, 2007 WL 2403210 (Tex.App.--Austin 2007, orig. proceeding) to support this contention.&nbsp; Rule 270 provides that:

When it clearly
appears to be necessary to the due administration of justice, the court may
permit additional evidence to be offered at any time; provided that in a jury
case no evidence on a controversial matter shall be received after the verdict
of the jury.

&nbsp;

Rule 270 is one
of nine rules found in the section of the Rules of Civil Procedure addressing
the conduct of trial.&nbsp; See Tex.R.Civ.P.
263 (providing for trial on agreed statement of facts); Tex.R.Civ.P. 264 (providing for all
testimony and evidence to be presented by videotape); Tex.R.Civ.P. 265 (setting the order of proceedings on trial
by jury); Tex.R.Civ.P. 266
(plaintiff has the right to open and close both evidence and argument unless
the defendant has the burden of proof); Tex.R.Civ.P.
267 (witnesses placed under the “Rule”); Tex.R.Civ.P.
268 (motion for instructed verdict); Tex.R.Civ.P.
269 (addressing closing argument).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In AXA Financial, a Chapter 7 bankruptcy trustee filed suit against several
defendants on behalf of the bankruptcy estate of Kent Abney.&nbsp; The claims arose out of Abney’s association
and employment relationship with the defendants.&nbsp; The defendants filed a motion to compel
arbitration before the National Association of Securities Dealers based upon a
Uniform Application for Securities Industry Registration or Transfer (“Form U-4”)
executed by Abney in 1987.&nbsp; The
defendants did not include the 1987 Form U-4 as evidence in support of their
motion, but they attached an amended U-4 signed in 2005.&nbsp; When Abney signed the 2005 U-4, he expressly
refused to consent to pre-dispute arbitration and reserved his right to file
suit.&nbsp; Prior to the hearing, the parties
entered into a Rule 11 agreement whereby the defendants agreed to limit their
evidence to that attached to the motion to compel.&nbsp; The trial court subsequently denied the
motion to compel arbitration with prejudice based upon a finding that the
defendants had not carried its burden to establish a valid agreement to
arbitrate the disputed claims.&nbsp; The
defendants filed a motion to reconsider and attached Form U-4s allegedly signed
by Abney in 1989, 1994, and 2003.&nbsp; The
U-4s contained language that Abney had agreed to arbitrate any dispute with his
firm.&nbsp; The trial court denied the motion
to reconsider.&nbsp; 

The
defendants appealed under the Texas Arbitration Act and filed a mandamus petition
under the FAA.&nbsp; The Austin Court of
Appeals dismissed the appeal for want of jurisdiction because the notice of
appeal was untimely, but the court addressed the issues raised in the mandamus
petition.&nbsp; AXA Financial, 2007 WL 2403210 at *3-4.&nbsp; The Court of Appeals concluded that the
documents attached to the motion to compel arbitration did not support
compelling Abney to arbitrate his claims.&nbsp;
Id. at *6.&nbsp; With respect the motion to reconsider, the
Court noted that the defendants attached new evidence but did not raise any new
ground for compelling arbitration.&nbsp; Id. at *6.&nbsp; The defendants cited Rule 270 in support of their
argument that the additional evidence was properly before the trial court, but
the Court of Appeals held that the defendants had not shown due diligence in
obtaining the evidence.&nbsp; Id. at *7. &nbsp;Additionally, the Court held that the trial
court did not abuse its discretion by denying the motion to reconsider because
the Rule 11 Agreement limited the defendants to the evidence attached to its
motion to compel.&nbsp; Id. at *7-8.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; AXA
Financial is the only case we have found applying Rule 270 to a court’s
ruling on a motion to compel arbitration and the Court of Appeals did so in direct
response to the relators’ argument based on the rule. &nbsp;Given that a court’s ruling on a motion to
compel arbitration is a pre-trial matter, we conclude that Rule 270 is
inapplicable.&nbsp; We decline to follow AXA Financial.&nbsp; The trial court abused its discretion by
impliedly finding that Lucchese could not “re-open” the arbitration issue based
on Rule 270.




&nbsp;

Doctrine of Equitable Estoppel

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Licon also alleged that Lucchese was
estopped from filing an amended motion to compel arbitration because Lucchese
had failed to disclose the Program’s arbitration agreement in response to his
written discovery requests and had failed to include the evidence in its
original motion to compel.&nbsp; The doctrine
of equitable estoppel requires (1) a false representation or concealment of
material facts; (2) made with knowledge, actual or constructive, of those
facts; (3) with the intention that it should be acted on; (4) to a party
without knowledge or means of obtaining knowledge of the facts; (5) who
detrimentally relies on the representation. &nbsp;Johnson
&amp; Higgins of Texas, Inc. v. Kenneco Energy, Inc., 962 S.W.2d 507,
515-16 (Tex. 1998); Enchilada’s
Northwest, Inc. v. L &amp; S Rental Properties, 320 S.W.3d 359, 365
(Tex.App.--El Paso 2010, no pet.).&nbsp; We
understand Licon to argue that Lucchese’s failure to produce the Program’s
arbitration agreement at an earlier date and in response to discovery requests
constituted concealment of material facts.&nbsp;
Licon failed to prove that Lucchese intended for him to act on the
concealment, he had no knowledge of the existence of the Program’s arbitration
agreement and no means to obtain knowledge of the fact, or he detrimentally
relied on the representation.&nbsp;
Consequently, the trial court’s order cannot be supported by a finding
of equitable estoppel.

Discovery Sanction

Licon’s counsel stated on
the record in the trial court that Lucchese failed to produce the Program
arbitration agreement in response to discovery requests.&nbsp; But Licon did not make any request that the
trial court strike the amended motion or issue an order refusing to allow
Lucchese to support its amended motion to compel arbitration with the evidence
as a sanction for failure to comply with a discovery request.&nbsp; See
Tex.R.Civ.P. 215.2(b)(4), (b)(5).&nbsp; Appellate counsel has repeated these
assertions and urges that the trial court could have exercised its discretion
not to reconsider the arbitration issue because, Lucchese failed to “explain
how Hilda Matthews could testify such ‘new’ evidence was ‘kept in the regular
course of business’ of Lucchese, yet was not produced or disclosed during
discovery on the arbitration issue.”&nbsp; To
the extent Licon’s brief can be read as arguing that the trial court struck the
amended motion as a discovery sanction under Rule 215.2(b), we conclude that he
did not present this specific argument to the trial court for a ruling.&nbsp; Consequently, it is not a basis for upholding
the trial court’s order.[2]

None
of the arguments made by Licon supports the trial court’s order striking the
amended motion to compel arbitration.&nbsp;
Accordingly, we conclude that the trial court abused its discretion by
granting the motion to strike.&nbsp; If we
reviewed this issue under the mandamus standard, we would find that the trial
court clearly abused its discretion.&nbsp; Issue
One is sustained.&nbsp; We reverse the trial
court’s order striking the amended motion to compel arbitration and remand the
cause to the trial court for proceedings consistent with this opinion.

&nbsp;

&nbsp;

June 27, 2012&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ________________________________________________

ANN CRAWFORD
McCLURE, Chief Justice

&nbsp;

&nbsp;

Before McClure, C.J., Rivera, and Antcliff, JJ.

&nbsp;











[1]&nbsp; 9 U.S.C.A. §§ 1-16 (West 2009).





[2]&nbsp; In the event Licon raises the discovery
sanction issue on remand to the trial court, our opinion should not be read as
expressing any opinion on the merits of that issue.







